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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK

 DIGGIN’ YOUR DOG, LLC,

                Plaintiff,                         Case No. 1:21-cv-8667-JPC-RWL
 v.

 THE PETLAB CO. and AMPLIFY LTD,

                Defendants.


                NOTICE OF MOTION FOR DEFAULT JUDGMENT AND
                           PERMANENT INJUNCTION

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law,

Declarations in Support, and the entire record herein, Plaintiff Diggin’ Your Dog, LLC hereby

moves for default judgment and a permanent injunction against Defendants The Petlab Co. and

Amplify Ltd, pursuant to Federal Rules of Civil Procedure 55(b)(2) and 65(d), Local Rule 55.2(b),

and the Court's Individual Rule 3(d).

 Dated: February 10, 2022               s/ Cameron S. Reuber
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                               CERTIFICATE OF SERVICE

       It is hereby certified that on February 10, 2022, a true and correct copy of the following

documents was served via ECF to all counsel of record:

       (i)     NOTICE OF MOTION FOR DEFAULT JUDGMENT AND PERMANENT
               INJUNCTION;

       (ii)    MEMORANDUM IN SUPPORT OF MOTION                               FOR     DEFAULT
               JUDGMENT AND PERMANENT INJUNCTION

       (iii)   DECLARATION OF CAMERON S. REUBER IN SUPPORT OF MOTION
               FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION;

       (iv)    DECLARATION OF AIRINA L. RODRIGUES IN SUPPORT OF MOTION
               FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION;

       (v)     DECLARATION OF CHRISTY LOVE IN SUPPORT OF MOTION FOR
               DEFAULT JUDGMENT AND PERMANENT INJUNCTION; and

       (vi)    PROPOSED ORDER GRANTING MOTION FOR DEFAULT JUDGMENT
               AND PERMANENT INJUNCTION.


                                            /s/ Cameron S. Reuber




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